                      4:10-mj-03012-CRZ                    Doc # 37            Filed: 04/05/10               Page 1 of 1 - Page ID # 51

    ... AO 472 (Rev. 3116) Order ofDetention Pending Trial




                                                                           District of
             UNITED STATES OF AMERICA
                                  v.
           ALFREDO HERNANDEZ LOPEZ
                              Defondant
        In accordance with the Bail Refonn Act, 18 U.S.C. § 3142(f), a detention hearing has been held. I conclude that theitdllowing facts require the
    detention of the defendant pending trial in this case.
                                                                     Part I-Findings of Fact
             The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has been convicted ofa 0 federal offense                         o state
"        (1) or local offense that would have been a federal offense ifa circumstance giving rise to federal jurisdiction had existed that is
              o   a crime ofviolence as defined in 18 U.S.C. § 31S6(a)(4).
             o an offense for which the maximum sentence is life imprisonment or death.
             o an offense for which a maximum tenn of imprisonment often years or more is prescribed in
              o ------------------------------------------------------~--~--------~--~~~---
                a felony that was committed after the defendant had been convicted oftwo or more prior federal offenses described in 18 U.S.C.
                  § 3142(t)(1)(A)-(C), or comparable state or local offenses.
                                                                                                                                                                       ..
    o (2) The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local offense.
    o (3) A period of not more than five years has elapsed since the 0 date ofconviction             Drelease ofthe defendant from imprisonment
             for the offense described in finding (1).
    o    (4) Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination ofconditions will reasonably assure the
             safety of(an) other person(s) and the community. I further find that the defendant has not rebutted this presumption.
                                                                       Alternative Findings (A)
    1    (1) There is probable cause to believe that the defendant has committed an offense
             X for which a maximum tenn of imprisonment often years or more is prescribed in 21 U.S.C. Sec. 801 et sea.
             o under 18 U.S.C. § 924(c).
    X    (2) The defendant has not rebutted the presumption established by finding 1 that no condition or combination ofconditions will reasonably assure
             the appearance of the defendant as required and the safety ofthe community.
                                                                       Alternative Findings (8)
~ (1) There is a serious risk that the defendant will not appear.
    o
  (2) There is a serious risk that the defendant will endanger the safety ofanother person or the community.




                                                  Part II-Written Statement of Reasons for Detention
        I find that the credible testimony and infonnation submitted at the hearing establishes by             0 clear and convincing evidence 0 a prepon­
    derance of the evidence that




                                                         Part III-Directions Regarding Detention
         The defendant is committed to the custody ofthe Attorney General or his designated representative for confinement in a corrections facility separate,
    to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The defendant shall be afforded a
    reasonable opportunity for private consultation with defense counsel. On order of a court of the United States or on request of an attorney for the
    Government, the person in charge ofthe corrections facility shall deliver the defendant to the United States marshal for the purpose ofan appearance
    in connection with 8 court proceeding.

                     April 5, 2010                                                               s/ Cheryl R. Zwart
                         Date                                                                      Signature 0/Judicial Officer
                                                                                              Cheryl R. Zwart, U.S. Magistrate Judge
                                                                                                Name and Title 0/Judicial Ojfice,.
. -Insert as applic:able: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export Act (21 U.S.C. § 951 et seq.); or (c)
  Section 1 of ActofScpt. 15, 1980 (21 U.S.C. § 9558).
